Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 1 of 8      PageID #: 1184



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 Attorneys for Plaintiff
 UNITED STATES OF AMERICA

                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,      )           CR. NO. 16-00207 SOM
                                )
                Plaintiff,      )           GOVERNMENT’S RESPONSE
      vs.                       )           IN OPPOSITION TO
                                )           DEFENDANT’S MOTION FOR
 WILLIAM CLARK TURNER,          )           EARLY TERMINATION OF
                                )           PROBATION; CERTIFICATE OF
                                )           SERVICE
                Defendant.      )
 _______________________________)

          GOVERNMENT’S RESPONSE IN OPPOSITION TO
   DEFENDANT’S MOTION FOR EARLY TERMINATION OF PROBATION

       The United States of America, by and through United States Attorney Kenji

 M. Price and Assistant United States Attorney Margaret C. Nammar, submits this

 response to Defendant William Turner’s motion seeking early termination of his
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 2 of 8          PageID #: 1185



 sentence of probation. The government respectfully submits that the motion

 should be denied.

   I.   BACKGROUND

        Defendant William Clark Turner was found guilty by a federal jury on

 February 10, 2017, of one felony count of interference with a flight attendant, in

 violation of 49 U.S.C. § 46504. On June 5, 2017, this Court sentenced Defendant

 to a three-year term of probation. Doc. 60. One of his special conditions of

 supervision was that Defendant be monitored by radio frequency for a period of six

 months. Doc. 61. Judgment of conviction was entered on June 9, 2017. Id.

        On July 24, 2017, Defendant filed his Notice of Appeal. Doc. 69.

 Defendant’s case is currently pending before the Ninth Circuit Court of Appeals.

 Briefing is complete and oral argument is scheduled for February 12, 2019.

        While jurisdiction of this case remains with the District of Hawaii,

 Defendant initially began his term of probation under the supervision of the

 Northern District of Texas. He later transferred to the Eastern District of New

 York where he currently resides and is being supervised.

  II.   LAW REGARDING EARLY TERMINATION OF PROBATION

        Defendant moves for early termination of his probation pursuant to 18

 U.S.C. § 3564(c). A court may, after considering certain factors set forth in 18

 U.S.C. § 3553(a), “terminate a term of probation previously ordered and discharge


                                           2
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 3 of 8             PageID #: 1186



 the defendant . . . at any time after the expiration of one year of probation in the

 case of a felony, if it is satisfied that such action is warranted by the conduct of the

 defendant and the interest of justice.” 18 U.S.C. § 3564(c).

       There does not appear to be a Ninth Circuit case applying the standard under

 18 U.S.C. § 3564(c) for early termination of probation. See United States v.

 Hilton, No. CR 13-172-PHJ, 2014 WL 3728176, at *2 (N.D. Cal. July 28, 2014);

 see also United States v. Bodybuilding.com, LLC, No. CR 12-00115-BLW, 2015

 WL 3616962, at *2 (D. Idaho June 9, 2015). However, district courts, including

 district courts in the Ninth Circuit, seem to apply the standard for early termination

 of supervised release pursuant to Section 3583(e), which also requires

 consideration of certain factors set forth in Section 3553(a). See id.

       The relevant factors under 18 U.S.C. § 3553(a) are: (1) the nature and

 circumstances of the offense and the history and characteristics of the defendant;

 (2) deterrence; (3) protection of the public; (4) the need to provide the defendant

 with educational, vocational training, medical care, or other rehabilitation; (5) the

 sentence and sentencing range established for the category of defendant; (6) any

 pertinent policy statement by the United States Sentencing Commission; (7) the

 need to avoid unwarranted sentence disparities among defendants with similar

 records who have been found guilty of similar conduct; and (8) the need to provide




                                            3
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 4 of 8           PageID #: 1187



 restitution to any victims of the offense. See 18 U.S.C. §§ 3583(e), 3553(a)(1),

 (a)(2)(B)-(D), (a)(4), (a)(5), (a)(6), and (a)(7).

       Like Section 3583(e), Section 3564 “provides the district court with retained

 authority to revoke, discharge, or modify terms and conditions of [probation] . . . in

 order to account for new or unforeseen circumstances.” United States v. Miller,

 205 F.3d 1098, 1101 (9th Cir. 2000) (citing United States v. Lussier, 104 F.3d 32,

 36 (2nd Cir. 1997)). Occasionally, changed circumstances can “render a

 previously imposed term or condition of release either too harsh or inappropriately

 tailored to serve the general punishment goals of section 3553(a).” Id. One such

 changed circumstance arises when the defendant has engaged in “exceptionally

 good behavior.” Id.; see also United States v. Smith, 219 Fed. Appx. 666, 668

 (9th Cir. 2007) (unpublished opinion) (relying on Lussier for the proposition that

 early termination is “reserved for rare cases of ‘exceptionally good behavior’”).

 “Mere compliance with the terms of supervised release is what is expected, and

 without more, is insufficient to justify early termination.” United States v. Grossi,

 No. 04-40127, 2011 WL 704364, at *2 (N.D. Cal. Feb. 18, 2011) (citations

 omitted); see also United States v. Robins, No. LA CR 08-01497-VBF, 2014 WL

 11790802, at *3 (C.D. Cal. May 27, 2014) (compliance with conditions of

 probation alone is not enough for court to find early termination of probation is

 warranted). When a defendant moves to terminate his probation, the defendant


                                             4
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 5 of 8          PageID #: 1188



 bears the burden of demonstrating that such a course of action is justified. See

 United States v. Weber, 451 F.3d 552, 559 n.9 (9th Cir. 2006).

 III.   ARGUMENT

        After serving approximately one year and seven months of his three year

 term of probation, Defendant now moves the Court for early termination of his

 sentence of probation because he believes he has “established a record of near-

 perfect compliance.” Doc. 103 at 1.

        Compliance with the terms of probation is expected. This simply does not

 satisfy Defendant’s burden of demonstrating that early termination is appropriate.

 This Court made that clear in August of 2017, when Defendant sought

 modification of his conditions of supervision. At that time, this Court stated in its

 Order that “[r]arely are conditions modified within the first year (sometimes the

 first half) of a term, and even then there must be some showing other than mere

 compliance.” Doc. 85 at 3 (emphasis added).

        Moreover, on August 11, 2017, Defendant submitted a urine specimen that

 was positive for marijuana in violation of his general conditions. See Doc. 102.

 The Court took no action and merely modified his conditions of supervision. Id.

 Clearly, Defendant has not been fully compliant during his term of probation.

 Furthermore, Defendant’s federal conviction was for a serious felony. His actions




                                           5
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 6 of 8           PageID #: 1189



 caused an American Airlines flight to go on lockdown and severely interfered with

 the flight attendant’s duties.

       Defendant’s motion establishes that he has mostly done that which the law

 requires of him. He has not articulated any justifiable reasons for terminating his

 probation. While he should be commended for his positive efforts towards

 rehabilitation, this is not a “rare” case where the defendant has demonstrated

 “‘exceptionally good behavior.’” See Miller, 205 F.3d at 1101 (quoting Lussier,

 104 F.3d at 36); see also Smith, 219 Fed. Appx. at 668. After considering the

 relevant factors set forth in 18 U.S.C. § 3553(a), especially the nature and

 circumstances of Defendant’s offense, Defendant’s characteristics, deterrence, and

 the protection of the public, this Court should deny Defendant’s motion for early

 termination of probation.

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Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 7 of 8          PageID #: 1190



 IV.   CONCLUSION

       For the reasons set forth above, the United States respectfully submits that

 Defendant’s motion for early termination of probation should be denied.

       DATED: January 10, 2019, at Honolulu, Hawaii.

                                              KENJI M. PRICE
                                              United States Attorney
                                              District of Hawaii

                                              By /s/ Margaret C. Nammar
                                               MARGARET C. NAMMAR
                                               Assistant U.S. Attorney

                                              Attorney for Plaintiff
                                              UNITED STATES OF AMERICA




                                          7
Case 1:16-cr-00207-SOM Document 107 Filed 01/10/19 Page 8 of 8          PageID #: 1191



                           CERTIFICATE OF SERVICE

       I hereby certify that, on the date and by the method of service noted below, a

 true and correct copy of the foregoing was served on the following at their last

 known address:

 Served Electronically by CM/ECF:

 BENJAMIN IGNACIO, ESQ.                         benignacio@hawaii.rr.com
 Attorney for Defendant Turner

 Served by first-class mail, postage prepaid:

 DAVID J. COHEN, ESQ.                           Bay Area Criminal Lawyers, PC
 Attorney for Defendant Turner                  300 Montgomery Street, Ste 660
                                                San Francisco, CA 94104

       Dated: January 10, 2019, at Honolulu, Hawaii.


                                                /s/ Margaret C. Nammar
                                                MARGARET C. NAMMAR
                                                Assistant U.S. Attorney
